        Case 2:16-bk-17463-ER                 Doc 621-5 Filed 01/17/17 Entered 01/17/17 16:14:39                                        Desc
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Dentons US LLP, 601 South Figueroa Street, Suite 2500, Los Angeles, CA 90017


A true and correct copy of the foregoing document entitled (specify): Debtor’s Emergency Motion to Authorize Closure
of Hospital; Declaration of Eric Weissman will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 17, 2017, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

SEE ATTACHED SERVICE LIST NO. 1

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date ) January 17, 2017, I will serve the following persons and/or entities
at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

SEE ATTACHED SERVICE LIST NO. 2.
                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on January 17, 2017, I will serve the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 17, 2017             GLENDA SPRATT                                                   /s/Glenda Spratt
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
C:\Users\gspratt\Desktop\JMOE\GARDENS\Gardens PROOF OF SERVICE (FORM F 9013-3.1) - 101316.doc
                                Case 2:16-bk-17463-ER           Doc 621-5 Filed 01/17/17 Entered 01/17/17 16:14:39            Desc
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                                         1                                        SERVICE LIST
                                         2   In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                             Medical Center
                                         3
                                             1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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                                           kblock@loeb.com, plavine@loeb.com
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                                           Bruce M Bunch - pam@bunchlawyers.com
                                         8 Louis J Cisz, III on behalf of Creditor Cerritos Gardens General Hospital Company

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                                           skatzman@bmkattorneys.com; admin@bmkattorneys.com
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                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

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                                        26 Mary H Rose on behalf of Creditor Promise Gardens Lending Company, Inc. and

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                                           mrose@buchalter.com, mrose@buchalter.com
                                        28
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                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

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                                        17 Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)

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                                           Matthew Zandi on behalf of Creditor Kaufman Borgeest & Ryan, LLP
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                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 2 TO BE SERVED BY U.S. MAIL:

                                         4   Regulatory Agencies
                                         5   United States Attorney’s Office             U.S. Department of Justice
                                             Central District of California              Office of the Attorney General of the United
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                                             Los Angeles, CA 90012                       950 Pennsylvania Avenue, NW
                                         7   Office: (213) 894-2400                      Washington, DC 20530-0001
                                             Fax: (213) 894-0141                         Office (202) 514-2000
                                         8                                               Fax: (202) 307-6777
                                         9   Wendi A. Horwitz                            Internal Revenue Service
                                             Deputy Attorney General                     300 North Los Angeles Street
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         DENTONS US LLP




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            (213) 623-9300




                                             Office: (213) 897-2178
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                                             State of California                         Sylvia Mathews Burwell, Secretary
                                        14   Franchise Tax Board                         U.S. Department of Health & Human Services
                                             300 South Spring Street, #5704              200 Independence Avenue, S.W.
                                        15   Los Angeles, CA 90013                       Washington, D.C. 20201
                                             Office: (916) 845-6500                      Office: (202) 690-6610
                                        16   Fax: None                                   Fax: (202) 690-7203
                                        17   Employment Development Dept.                Jennifer Kent, Director
                                             722 Capitol Mall                            California Department of Health Care Services
                                        18   Sacramento, CA 95814                        1501 Capitol Avenue, Suite 4510
                                             Office: (866) 333-4606                      Sacramento, CA 95814
                                        19                                               Office: (916) 464-4430
                                                                                         Fax: None
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                                             Internal Revenue Service                    Angela M. Belgrove
                                        21   600 Arch Street                             Assistant Regional Counsel
                                             Philadelphia, PA 19101                      U.S. Department of Health and
                                        22   Office: (267) 941-6800                      Human Services
                                                                                         Office of the General Counsel, Region IX
                                        23                                               90 7th Street, Suite 4-500
                                                                                         San Francisco, CA 94103-6705
                                        24                                               Office: (415) 437-8156
                                                                                         Fax: (415) 437-8188
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                                        27   San Francisco, CA 94102
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                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 Request for Special Notice

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                                            [Counsel for Beckman Coulter, Inc.]
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                                        16   Cerritos Gardens General Hospital Company       Mr. Oren Ben Ezra
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                                        18          Attn: Cherna Moskowitz, President

                                        19   James Hamada, M.D.                              Amable Aguiliuz, M.D.
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                                        21   Rebecca J. Price                                Constance R. Doyle
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                                        24   Jeffrey Golden (NEF)                            Andrew H. Sherman (NEF)
                                             Lobel Weiland Golden & Friedman LLP             Sills Cummis & Gross, P.C.
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                                             Fax: (714) 966-1002                             Office: (973) 643-6982
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                                         1    SERVICE LIST (cont’d)
                                              In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2    Medical Center

                                         3    Anthony R. Bisconti (NEF)
                                              Steven Jay Katzman
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